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                                                                               CLERK U.S. DISTRICT
                                                                                                   COURT
                                                                              WESTERN DISTRICT OF
                                                                                                    TEXAS

                         IN THE UNITED STATES DISTRICT COURT                   BY:C7
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA

V.                                                                    1:20-CR-i 56-RP

CYRIL LARTIGUE,

                Defendant.

                                          VERDICT FORM


Count One: Possession of an Unregistered Destructive Device (26 U.S.C.    §   5861(d) and 5845 (f) (3))


        As to the charge of knowingly possessing an unregistered destructive device, we, the Jury,

find Cytil Lartigue:            U)   LT
                          Not Guil      Guilty




Dated October             ,   2021, in Austin, Texas.
                                                                  ORGNAL StGNATURE
                                                                REDACTED PURSUANT TO
                                                               EGOVEPNMEt4T ACT OF 2002
                                                                      For)ie              Jury
